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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
------------------------------------------------------------X
YEDA RESEARCH AND DEVELOPMENT
COMPANY LTD,                                                    :
                                                            :
                                        Plaintiff,          :
          -against-                                         :               ORDER
                                                            :          18- CV- 8083 (GBD) (KNF)
ICAD,INC.,                              :
                                                            :
                                        Defendant.          :
------------------------------------------------------------X
KEVIN NATHANIEL FOX
UNITED STATES MAGISTRATE JUDGE

         The parties submitted a proposed amended protective order, Docket Entry No. 70, to the Court

for its review and approval. That document references Exhibit A and Exhibit B and indicates that the

exhibits are attached to the proposed amended protective order; however, they are not attached to the

document. The parties shall correct this deficiency by resubmitting their proposed amended protective

order to the Court with the relevant exhibits attached.

Dated: New York, New York                                       SO ORDERED:
       November 1, 2020
